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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DANETTE K. FIFE, > CIVIL ACTION—LAW
Plaintiff > JURY TRIAL DEMANDED
e. : THE HONORABLE JUDGE
: EDWINM. Kosik
ALEESHA BAILEY,
Diiiedanr > NO.3:14-CV-01716

PLAINTIFEF’S PRETRIAL CONFERENCE MEMORANDUM
Pretrial Conference: August 31, 2015, at 1:30 p.m.
———————— ee Most 51, 2015, at 1:30 p.m.
I. STATEMENT OF FEDERAL COURT JURISDICTION

Jurisdiction is pursuant to 28 USC §1332 as there is complete diversity of citizenship and
the amount in controversy exceeds, exclusive of interest and costs, the sum of Seventy-five
Thousand Dollars ($75,000.00).

Pennsylvania law controls in this matter as the Plaintiff is a resident of Pennsylvania and
the crash at issue occurred in Pennsylvania.

Venue is proper in the United States District Court of the Middle District of Pennsylvania
as the Plaintiff is a resident of the Middle District of Pennsylvania and the crash at issue occurred

in the Middle District of Pennsylvania.

Il. STATEMENT OF FACTS/CONTENTIONS AS TO LIABILITY
On December 17, 2012, the Plaintiff, Danette K. Fife, was operating her Kia vehicle
westbound on Davis Street, Moosic, Lackawanna County, Pennsylvania, near its intersection

with Montage Mountain Road. At the same time, the Defendant, Aleesha Bailey, was operating a
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2013 Chrysler Town and Country minivan bearing Connecticut vehicle registration number 953-
ZDE (hereinafter referred to as the “Chrysler”). The Chrysler was a rental car owned by
Enterprise Rent-a-Car. Defendant was driving this Chrysler westbound in the eastbound lane of
travel on Davis Street, Moosic, Lackawanna County, Pennsylvania, near its intersection with
Montage Mountain Road. The Defendant, upon realizing that she was driving on the wrong side

of the road, crossed over the median of Davis Street and crashed into Plaintiffs Kia, resulting in

the following property damage to the Kia:

 

As a result of the Defendant’s negligence, the Plaintiff, Danette K. Fife, suffered injuries
including, but not limited to, the following:
a. Neck injury and pain;
b. Shoulder injury and pain;
c. Right arm injury and pain;
d. Right arm pain radiating to hand:
é. Mid back injury and pain;

fi Low back injury and pain;
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g- Hip pain;

h. Leg pain;

L Headaches; and

‘Te General loss of well-being.
As a result of her injuries sustained in the accident, Plaintiff underwent cervical neck fusion
surgery on 6/15/13. A metal plate and two screws were installed into Plaintiffs neck, as seen

below in the following cervical X-ray films from 6/16/2013:

 

 

 

The Defendant, Aleesha Bailey, was negligent in driving her vehicle on the wrong side of

the road and then correcting and driving into Plaintiff's vehicle, thereby causing the accident.
Plaintiffs counsel has requested Defendant to stipulate as to liability. Defense counsel

has refused to do so, even though there are no questions as to liability.
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Defendant’s bodily injury coverage limits are $250,000. The Plaintiff has demanded the
third party policy limits of $250,000. The Defendant, to date, has not offered any money as

settlement.

il. UNDISPUTED FACTS

The parties agree that the Defendant mistakenly traveled west in the eastbound lane of
Davis Street before she recognized she was not in her appropriate lane of travel. The Defendant
attempted to correct the situation in the face of oncoming traffic and collided with the front of
Plaintiff's vehicle.

Defendant was cited by the police for moving violations, including driving on the wrong
side of the road. (See Deposition of Thomas McGovern, p35 lines 12-25). Defendant stated to
Officer Jenkins that she “was coming from out of state, she wasn’t from the area. And that she
had made a wrong turn, and she was going the wrong way because she saw headlights coming at

her.” (See Deposition of Officer Thomas Jenkins, p55 lines 10-14).

IV. DAMAGES

1. Principal injuries sustained

Plaintiff underwent cervical neck fusion surgery on 6/15/13. Post-surgery, Plaintiff
suffers from a cervical disc herniation at C5-6, right-sided cervical radiculopathy, and ongoing
cervical/thoracic myofascial spasms.

Plaintiff also suffered injuries to her left shoulder, left foot, and her mid and low back as
a result of the crash.

2. Hospitalization and convalescence
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Plaintiff was transported to Geisinger Wyoming Valley Hospital following the crash via

Lackawanna County Ambulance. Her follow-up treatment included:

Chiropractic and Rehabilitation Services of Dallas from 2/1/13 until 1/19/15,
which included a total of 47 treatments;

Dr. Nothstein, PAP, Intermountain Dallas, office visits;

Dr. Paz, Comprehensive Pain Management, office visits;

Dr. Michelle LaCroix, Geisinger, Neurosurgery; and,

Other diagnostic tests, including MRI’s and X-Ray’s

To date, Plaintiff has a Geisinger private health insurance lien in excess of $33,541 for

the costs it paid for Plaintiff's care. Plaintiff's PIP has paid its limits of $5,000. The Plaintiff also

paid $2,180 in out of pocket costs.

3. Present disability

Based upon Dr. Prebola’s medical opinion from 6/24/14, Plaintiffs condition will worsen

due to her cervical discectomy and fusion, and she can expect her condition to deteriorate to the

state of total disability within a 5-year time frame (by the year 2019). Dr. Prebola further opines

that Ms. Fife has already experienced a permanent partial disability and impairment, in that she

has:

A maximum lifting ability of 15-20Ibs,
Must avoid future work that includes repetitive cervical twisting and bending,
Can expect to have permanent pain and symptomatology in the future, and;

Must follow a sedentary or light duty work capacity level.
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4. Special monetary damages. loss of past earnings, medical expenses, property
damages, etc.

Plaintiff's current wage loss already exceeds $2,211. Additionally, Plaintiff suffered a
commission loss of $817.97. Based upon Sean Hanahue’s expert report, Plaintiff can anticipate a
total of $800,288 in loss of future earnings capacity.

5. Estimated value of pain and suffering, etc.

Plaintiff's estimated pain and suffering in excess of Defendant’s policy limits of
$250,000 due to the neck fusion surgery and the installation of screws and a plate in Plaintiff's
neck.

6. Special damage claims

Plaintiff makes no claim for special damages.

¥i WITNESSES

The Plaintiff, Danette Fife

The Defendant, Aleesha Bailey
Dr. William Prebola, M.D.

Sean C. Hanahue, MA, CDMS, CRC, BCPC, ABVE

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Officer Thomas Jenkins, Moosic Police Department

ra

Officer Thomas McGovern, Moosic Police Department

Dr. Nothstein, PAP, Intermountain Dallas

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Dr. Paz, Comprehensive Pain Management

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Dr. Michelle LaCroix, Wilkes-Barre Geisinger

J. Dr. Mark Morris, Chiropractor
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G. Friends, Family, and Co-Workers

Vil. SUMMARIES OF EXPERT TESTIMONY

Dr. Prebola will testify as to his independent medical exam of the Plaintiff on 4/30/2014,
attached as Exhibit A. According to Dr. Prebola’s report, Plaintiff's condition will worsen due to
her cervical discectomy and fusion, and she can expect her condition to deteriorate to the state of
total disability, within a 5-year time frame, by the year 2019. (See Exhibit A). Dr. Prebola further
opines that Ms. Fife has already experienced a permanent partial disability and impairment. In
his expert report regarding future medical costs and requirements, Dr. Prebola explains that
Plaintiff will require:

e 24-36 chiropractic visits a year, costing $100 to $150 a month;

e Celebrex and Flexeril medications costing a collective total of $250 a month;

Lyrica medication costing $303.50 per month;

Four trigger point injections on a yearly basis, costing $150 each; and,

e Six to eight physician visits on a yearly basis costing $150 each.
(See Exhibit B). Dr. Prebola will testify as to the method of examination he performed, his
findings and their significance, the records he reviewed, and the Plaintiff's current and future
disabilities.

According to vocational expert Sean C. Hanahue’s expert report, Plaintiff can anticipate
to lose a total of $800,288 in loss of future earnings capacity. (See Exhibit C). Hanahue will
testify as to the method of calculation of future wage loss, the factors associated with Plaintiff s
present and future disability causing her wage loss, documentation supporting his findings, and

his vocational conclusion.
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VIII. SPECIAL COMMENTS ON PLEADINGS AND DISCOVERY

As of this date, the discovery deadline has passed. However, the depositions of Plaintiff
and Defendant have not yet occurred. Plaintiff's counsel has requested from Defense counsel that
the depositions of Plaintiff and Defendant occur on the same day. However, Defense counsel was
unwilling to comply until 8/27/2015, when counsel sent Plaintiff's counsel a letter stating that
the Defendant could be available for deposition on the same day as Plaintiff via electronic
means. Plaintiff demands that the Defendant appear in person for deposition.

Also, Defense counsel has noted a desire to complete an independent medical exam
(“IME”), as well as a vocational evaluation. However, as of today’s date, neither an IME nor a
vocational evaluation has yet been scheduled by the Defendant.

Plaintiff is ready to proceed with trial and asks this Court to schedule a trial date.

IX. SUMMARY OF LEGAL ISSUES

Whether Defendant should pay Plaintiff the policy limits in light of clear liability of
Defendant driver and serious injury and medical and economic loss to Plaintiff?

Regarding causation, a tortfeasor is liable for all direct and proximate consequences of
her unlawful act. Menarde v. Philadelphia Transp. Co., A.2d 681 (Pa. 1954).

1. Damages:

a. Physical pain and suffering:

The Plaintiff is entitled to reasonable compensation for the pain, suffering, and
inconvenience she has endured and will endure in the future. Pennsylvania Railroad Company v.
Allen, 53 Pa. 276 (1866).

b. Loss of feeling of well-being:
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The Plaintiff is entitled to recover compensation for the loss of the feeling of well-being
as a result of her injuries. Thompson v. Ianuzzi, 169 A.2d 777 (Pa. 1961).

c. Medical expenses — past and future:

The Plaintiff is entitled to be reimbursed for all medical and hospital expenses the jury
believes to be reasonable under the circumstances and incurred as a result of the negligence of

the Defendants. See Fisher v. Pomeroy’s, Inc., 185 A. 296, 322 Pa. 389 (1936).

 

d. Income loss/loss of earning capacity

The Plaintiff is entitled to be reimbursed for loss of any and all wages sustained to
present and any and all wage loss that she will sustain in the future as a result of the injuries she
suffered. In addition, the Plaintiff is entitled to be reimbursed for any and all past and future
impaired earning capacity as a result of the injuries she suffered. Williams v. Dulaney, 480 A.2d

1080 (Pa. Super. 1984).

X. STIPULATIONS DESIRED
The Plaintiff requests that Defendant stipulate to liability.
The Plaintiff also seeks to stipulate to the authenticity of all medical records and bills

obtained by subpoena and/or exchanged through pretrial discovery.

XI. ESTIMATED NUMBER OF TRIAL DAYS

Three days.

XII. EXHIBIT FORM

See attached.
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Exhibit A: Expert report, IME, Dr. William Prebola, M.D.
Exhibit B: Expert report, Future Medical Costs, Dr. William Prebola, M.D.

Exhibit C: Expert report, Vocational Evaluation, Sean C. Hanahue

XII. SPECIAL VERDICT QUESTIONS
N/A
XIV. DEFENSE COUNSEL STATEMENT ON SETTLEMENT AUTHORITY

See Defendant’s Pretrial Memorandum

XV. CERTIFICATE OF COUNSEL RE RULE 402.7

See attached.
[Certificate must be filed as required under Rule 402.7 that counsel have met and reviewed
depositions and videotapes in an effort to eliminate irrelevancies, side comments, resolved

objections, and other matters not necessary for consideration by the trier of fact.]

XVI. N/A

LAW OFFICE OF CEFALO & ASSOCIATES

MIOR AH A L J CEFALO, Fjoune
ID No. HAEL IE

Attorneys for the Plaintiff

309 Wyoming Avenue

West Pittston, Pennsylvania 18643
(570) 655-5555
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EXHIBIT A
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Physical Medicine &
Rehabilitation

Treatment Locations:

Morgan Medical Complex
5 Morgan Highway, Suite 4
Scranton, DA 18508

{570) 344-3788

Fax: (570) 969-9280

John Heinz
Rehabilitation Campus
150 Mundy Street
Wilkes-Barre, PA 18702
(570) 824-0930

Fax: (570) 824-7755

Park Plaza

3400 Bath Pike

4" Floor, Suite 400
Bethlehem, PA 18017

{610} 954-9400
Fax: (610) 954-0333

Wayne Memorial Megical
& Professional Complex
600 Maple Avenue, Sulte 3
Honesdale, PA 18431
{570) 253-1008

Fax: (570) 253-7868

Additional Locations:
Allentown
Bellefonte
Drums

East Stroudsburg
Etters
Glenside
Harrisburg
Havertown
Jonestown
Lancaster
Lehighton
Lewisburg
Mechanicsburg
Newport
Quakertown
Reading Area
Tamaqua
Towanda
Tunkhannock
Williamsport

wayw. nerehab.com

 

1 A

7* Northeastern Rehabilitation
/{\\ ASSO TES, P.c.,

PHYSIATRIC INDEPENDENT MEDICAL EVALUATION

Examinee: Danette Fife

Date of Exam: 04/30/14

Date of Birth: 11/08/68

Date of Injury: 12/17/12

Referral Organization: Cefalo & Associates
Referring Individual: Michael J. Cefalo, Esquire
Claim Number: Unknown

Evaluating Physician: William R. Prebola, M.D.

Location of Evaluation: Wilkes-Barre, PA

Danette Fife was referred for a Physiatric Independent Medical Evaluation at the
request of the above agent. The IME process was explained to the examinee, and
understands that no patient/treating physician relationship exists and that a report
will be sent to the requesting agent. Analysis is based upon the subjective
complaints, history given by the examinee, review of medical records and tests
provided to me, as well as results of a comprehensive history and physical
examination.

History was provided by the examinee. Approximately 60 minutes were spent
with the examinee. This included performing a comprehensive history and
physical examination. An additional 90 minutes were spent reviewing a thick
packet of medical records and preparation of the report.

HISTORY

Mechanism of Injury/Examinee Treatment Summary: Danette Fife is a very
pleasant, 45-year-old, white female, who was Christmas shopping on 12/17/12.

She was a belted driver. She was driving along and another car pulled right out
aud there was a significant collision. There was no loss of consciousness, but she
needed the paramedics to extricate her from the car. She was taken by ambulance
to the Geisinger Hospital. She had multiple diagnostic X-rays that revealed no
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fracture, I have reviewed the ambulance report of 12/17/12. She did have pain in
the neck and pain in the pelvis while she was in the ambulance.

Later, she was referred to Dr. Moms for chiropractic treatment. She continued to
have ongoing neck and mid back discomfort. Dr. Morris treated her conservatively.
She continued to complain of neck pain and eventually a cervical MRI was
performed on 04/22/13. I personally reviewed the MRI scan and there is a rather
significant disc herniation at C5-6. She was having right arm numbness.

She was referred to Dr. Lacroix at the Geisinger Clinic. She had even seen Dr. Paz
for pain management. Eventually, she was admitted to the Geisinger Hospital and
underwent anterior cervical discectomy and fusion on 06/15/13. After the surgery,
she did have some improvement of her referred right arm pain. She still had the
neck pain and upper back soreness and tightness.

Tn the past, she has seen Dr. Nothstein.

She tells me that she cannot afford to go to see Dr. Mortis for chiropractic
adjustments, as these have helped. She has had modalities and myofascial
stretching through his office, which have helped.

She did miss about four days of work around the time of the motor vehicle
collision. She then missed about six weeks of work around the time frame of the
surgery. She has now gone back to work at Pride Mobility, as she works in the sales
department. She reports this is a sedentary type of job.

Symptomatology: She continues to have neck stiffness and soreness. She still has
numbness from her right neck down into the right hand. She feels some mid back
tightness and soreness.

Aggravating Factors: Bending and twisting at the mid back and neck cause
increased discomfort. She feels a sense of weakness in her right arm.

Relieving Factors: She does note that chiropractic treatment has been helpful in
the past. She had taken extensive pain pills in the past. In fact, she got addicted to
the Oxycodone. She is just out of Marworth for detox of drugs and alcohol. She has
been 72 days sober. She also reports that the surgery was helpful, performed by Dr.
Lacroix,

 
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Subjective Tolerance Levels; She is independent with all function. She is able to

drive in the community.
Allergies: No known drug allergies.

Medications: She takes Lexapro and an occasional Motrin. She does not want to
take any type of addictive drugs.

Past Medical History: Her past medical history is negative.
Review of Systems: Review of systems as above.
Family History: Her family history is noncontributory.

Psychosocial History: She has not had any drugs or alcohol in the last 72 days,
since she has been discharged from Marworth. She is a single parent of three boys,
ages 8, 11, and 19, She has had to cut back on her social activities. At the end of a
busy day, she has significant pain in the upper back and neck with stiffness,

Occupational History; She works at Pride Mobility in the sales department for the
last year and a half. She has to continue working, as she has to financially support

her family.

MEDICAL RECORD REVIEW

Lackawanna Ambulance report, dated 12/17/12.

E.R. records from Geisinger Hospital (Dr. Sam Saylor), dated 12/17/12.

Chiropractic records from Chiropractic Rehab Associates of Dallas (Dr. Sean

Miller/Dr. Mark Morris).

4. Multiple medical records from the neurosurgery office at Geisinger Hospital
(Dr. Lacroix).

5. Operative report from Dr. Lacroix, dated 06/15/13, indicating anterior cervical
discectomy and fusion with plating at C5-6.

6. Cervical X-ray report, dated 06/15/13 (post-operative X-ray, indicating anterior

cervical discectomy and fusion at C5-6 with anterior plating and no evidence of

hardware failure.

Medical records from Dr. Gary Nothstein.

Medical records from Dr. Albert Sun, dated 01/09/14 (thyroid).

9. Cervical X-ray report, dated 12/18/12.

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10. Lumbar X-ray report, dated 12/18/12.

11. Cervical MRI report, dated 04/22/13, indicating disc herniation at C5-6 with
straightening of the cervical lordosis with some disc protrusion at C6-7.

12. Cervical X-ray report, dated 06/16/13.

13. Intraoperative X-ray report, dated 06/15/13.

14. Multiple records from InterMountain Medical Group including office note of
12/03/12, Dr. Nothstein.

15. Multiple medical bills and costs surrounding treatment for Danette Fife due to
the motor vehicle accident of 12/17/12.

16. Medical records from Dr, Paz,

PHYSICAL EXAMINATION

MUSCULOSKELETAL

Gezeral Appearance: A cooperative female, who gets on and off the exam table
independently.

 

Structaral/Postural: She has a well-healed anterior cervical incision. No
kyphoscoliosis.

Gait: Gait normal with no spastic or myelopathic gait.

 

Range of Motion: Cervical range is limited to no better than 50% full motion. She
had full motion at the shoulders, elbows, and wrists with a pulling sensation in her
tight trapezius with right shoulder testing.

Palpation; She had severe spasm in the bilateral cervical paraspinals with two

large trigger points in the upper trapezius region. She has spasm in the upper
thoracic region without trigger points.

NEUROLOGICAL
Manual Muscle Testing: Normal muscle grades in both upper extremities.

Reflexes: Reflexes 1+ biceps, wrist extensors, and triceps jerks.

Sensory: Diminished sensation in the right Cé dermatomal pattern.

 
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Clinical Diagnostic Tests: Spurling’s test positive to the right, negative to the left,
No atrophy in both upper extremities. No fasciculations. Speech fluent and
appropriate.

DIAGNOSTICS REVIEW

I did review the cervical MRI film of 04/22/13, There is obvious disc herniation at
C5-6, which is central and to the right side. There is flattening of the cord. There
ave degenerative disc changes with protrusion at the C6-7 level, but no cord
compression.

I reviewed the lumbar X-ray film, dated 12/18/12. I see no fracture or dislocation,

I reviewed the cervical X-ray film, dated 12/18/12. I see no evidence of fracture or
dislocation.

T reviewed the actual cervical X-ray film of 06/16/13. There is post-surgical change
with anterior spinal fasion at the C6-7 level. There appears to be good anatomic
alignment.

IMPRESSION

1. Motor vehicle collision of 12/17/12 causing:
a. Cervical disc herniation at C5-6, status post anterior cervical discectomy

and fusion.
b. Right-sided cervical radiculopathy.
c, Ongoing cervical/thoracic myofascial spasms.

DISCUSSION

Recommendations regarding the examinee’s ability to work, or participate in
activities of daily living and other opinions provided in this report are given totally
independently of the requesting agents. These recommendations and opinions are
based upon reasonable certainty.

Danette Fife presents today for an evaluation in regards to a severe motor vehicle
trauma, which occurred on 12/17/12, At that time, she suffered a significant

 
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cervical spine injury as a result of the motor vehicle collision. She has undergone
approptiate and necessary care. She has had a cervical MRI, which revealed a
rather significant disc hermiation at C5-6. Clinically, she did have cervical
radiculopathy, She has undergone appropriate and necessary surgical
decompressive and stabilization surgery by Dr. Lacroix,

Based on my examination today, Ms. Fife continues to have ongoing cervical spine
impaitment with residual right-sided cervical radiculopathy as a sole result of the
motor vehicle collision of 12/17/12.

Ms. Fife can expect to have permanent pain and permanent impairment in the
future. At this time, Ms. Fife would benefit fom ongoing conservative treatment.
She has received significant benefit from chiropractic mobilization. I do believe
that 24-36 chiropractic visits on a yeatly basis would be reasonable to treat the
myofascial spasms in the cervical/thoracic regions, These spasms are a sole result of
the motor vehicle collision of 12/17/12.

In regards to future medication management, Ms. Fife does not want to take any
type of narcotic/addictive potential medications. Therefore, I would recommend
anti-inflammatory medications and nighttime muscle relaxers. A prescription for
Celebrex 200 mg. daily would certainly be reasonable to treat the cervical injury
related impairment. Nighttime Flexeril 10 mg. would certainly be reasonable to
treat the myofascial spasms.

In the future, Ms, Fife would benefit from cervical/trapezius trigger point injections
four times a year. She should continue to follow with Dr. Morris and Dr. Paz, her
treating chiropractor and treating pain management physician. Six to eight
physician visits on a yearly basis would certainly be reasonable.

In regards to future work and social activities, I believe Danette Fife does suffer
permanent partial impairment and permanent partial disability, Currently, she has
been working in the sales department at Pride Mobility. However, I would place
permanent restrictions in the sedentary to light duty work capacity level. She has
maximum lifting of 15-20 pounds occasionally and no greater than 5-10 pounds
frequently. She needs to avoid a future occupation that would include repetitive
cervical twisting and bending activities. These restrictions are based solely on the
motor vehicle collision of 12/17/12.

 
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For all intents and purposes, Ms. Fife will never fully recover from the injuries
sustained on 12/17/12. She can expect to have permanent pain and permanent
symptomatology in the future.

In regards to future pain management for her right-sided radiculopathy, I would
recommend Lynca 75 mg. b.i.d. to help with the “nerve pain” she has been
suffering since her injury of 12/17/12.

IT have reviewed the medical bills and medical charges concerning the treatment
rendered to Ms. Fife as a result of the motor vehicle collision of 12/17/12. These
medical charges are reasonable and necessary in regards to the treatment she
received.

“{ certify and affirm that the foregoing report is true to the best of my knowledge
under the penalties of perjury.”

La

William R. Prebola, M.D.

Board Certified, Independent Medical Examinations

Board Certified, Physical Medicine & Rehabilitation

Fellow, American Academy of Physical Medicine & Rehabilitation
Diplomate, American Board of Pain Medicine

WRP/kz,

 
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=~ Northeastern
/\ Rehabilitation Associates, P.C.

150 Mundy Street
Wilkes-Barre, PA 18702
Tel: 570-824-0930 Fax: 570-824-7755

June 26, 2014

Jlynn Yamrus

Cefalo and Associates
309 Wyoming Avenue
West Pittston, PA 18643

RE: Danette Fife
DOB: 11/8/68

Dear Ms. Yamrus:

This correspondence outlines future’ medical cost projections for Danette Fife. I reviewed my
IME report of 4/30/14. As you already know, Ms. Fife suffered a cervical disc herniation at
C5-6 as well as a right sided cervical radiculopathy and ongoing cervical thoracic myofascial
spasms as a sole result of her motor vehicle collision of 12/17/12.

As outlined in my prior IME report, I do believe that 24 to 36 chiropractic visits on a yearly
basis would be reasonable to treat her cervical and thoracic injuries as a result of the motor
vehicle trauma. The cost of each chiropractic visit is approximately $100.00 to $150.00. This
depends on the intensity of modalities used during each visit. In regards to future costs of her
pharmacologic agents, Celebrex 200 mg daily will cost approximately $225.00 per month.
The Flexeril medication prescribed 10 mg at bedtime costs approximately $25.00 to $30.00 a
month. Generic medications are available for this pharmacologic agent.

Four trigger point injections on a yearly basis will cost $150.00 each. Six to eight physician
visits on a yearly basis will cost approximately $150.00 each.

In regards to the nerve pain medication, Lyrica, the cost of 75 mg twice a day for a month is
$303.50.

As outlined in my prior report, Ms, Fife does suffer permanent impairment and disability.
She currently can work in a light duty capacity. She needs to avoid repetitive cervical twisting
and bending activities.

In the future, Ms. Fife can expect to have worsening of her cervical spine above and below the
level of her cervical fusion at C5-6. In approximately three to five years, Ms. Fife can expect
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to have worsening of her physical abilities due to the fact she has had the cervical discectomy
and fusion. I believe she will progress to a state of total disability in that five year time

frame.

Should you require further information, please do not hesitate to contact me

Sincerely,

ULL: fer

Electronically signed by William Prebola, MD
WP/mw

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EXHIBIT C
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PA. ADVOCATES INC.

 

SEAN C. HANAHUE, MA, CDMS, CRC, BCPC, ABVE Certified Expert Case Management:

* Workers Compensation
* Social Security Disability
* Personal Liability

 

President - Director of Vocational Services

September 25, 2014

Attorney Michael Cefalo
Cefalo & Associates

309 Wyoming Avenue
West Pittston, PA 18643

Re: Danette Fife
DOB: 11/8/1968

DOT: 12/17/12
Vocational Assessment

Dear Attorney Cefalo:

I appreciate the opportunity to contribute expert vocational services in the matter of Danette Fife.

Pursuant to your request for a vocational assessment in the above captioned matter, I offer the
enclosed as my opinion within a reasonable degree of vocational certainty regarding Danette
Fife, and specifically the impact of her 12/17/12 accident on her future vocational and economic

horizons.

On 7/7/14, I had the opportunity to meet with and conduct a vocational interview with Danette
Fife at her residence located in Harvey's Lake-PA. I have also completed telephonic vocational
discussions with Ms. Fife on 8/1/14, 8/13/14, and 9/3/14.

In conjunction with my vocational assessment discussions with Danette Fife, I have had the
opportunity to review all historical documentation pertinent to this matter. In addition,
appropriate government resources and vocational materials have been utilized in developing this
expert vocational opinion,

Vocational resources utilized to support my vocational opinions within this report included but
are not limited to The US Department of Labor-Bureau of Wage Statistics, The Occupational
Outlook Handbook 2013-2014 Edition, The Enhanced Occupational Outlook Handbook, The
Dictionary of Occupational Titles (DOT), The Classification of Jobs (COJ), O*Net, the
Vocational Diagnosis and Assessment of Residual Employability (VDARE), Social Security
Administration research (www.ssa.gov), the PA Center for Workforce Information & Analysis,
the New Guide to Occupational Exploration, and Gamboa-Gibson Work Life Tables,
Determining Economic Damages: Martin & Weinstein August 2012, Economic Research
Institute (ERI), and The Foundation for Forensic Vocational Rehabilitation — Robinson 2014.

 

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Re: Danette Fife

Vocational Methodology:

In developing my opinions within this assessment, I have utilized accepted vocational
methodology which includes an in person vocational assessment of Danette Fife, the completion of
a Transferable Skills Analysis, utilization of vocational research material and my extensive review
and evaluation of all available medical, vocational, and financial documentation.

Documentation reviewed and utilized in developing this assessment is considered reliable and
relevant information.

In evaluating Danette Fife, I have considered the vocational and occupational impact of her
12/17/12 motor vehicle accident. Specifically, I have evaluated Danette Fife's abilities and
vocational limitations.

The term “disability” can generally be defined as referring to a loss or reduction of ability.
An occupational disability can specifically be defined as:

e Anoccupational disability represents a loss or decrease in the ability to respond to
yocational expectations as a result of impairments and functional limitations.

The affect of a vocational disability is realized when a disabled individual loses their ability to
participate in the competitive labor market, or when a disabled individual working year round
full time experiences a reduction in their earning abilities as compared to other individuals
without a disability.

Vocational factors that are included in the assessment of an individual’s disability are age,
education, work history, earnings history, general jearning ability, transferable skills, permanent
employment status, and labor market access.

Mechanism of Injury:

Danette Fife was injured in a motor vehicle accident which occurred on 12/17/12. Specifically,
Ms. Fife was struck on the front driver's side by another vehicle.

Ms. Fife was transported via ambulance to Geisinger Wyoming Valley Hospital where she
underwent treatment for acute neck and back pain.

ER Physician, Dr. Samuel Saylor diagnosed Ms. Fife with a neck and back strain status post
motor vehicle accident.
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Re: Danette Fife

Employment Status:

At the time of the 12/17/12 accident under review, Danette Fife was employed at Pride Mobility
in their inside sales department for a period of one week beginning on 12/10/12.

Despite ongoing pain and discomfort, Ms. Fife indicated she was only off work for a period of 4-
days following the 12/17/12 accident. Ms. Fife did return to modified work for a period of 6-
months. Ms. Fife was only able to work until her cervical neck fusion surgery which occurred
on 6/15/13. Ms. Fife noted that following her cervical neck surgery she was off work for
approximately 6-weeks. Ms. Fife recalled returning to work on or about 7/28/13.

Since undergoing surgery in June 2013, Ms. Fife reports she has had to return to work in order to
financially support her family. Ms. Fife experienced a probationary period at work due to
missed time caused by ongoing pain. Ms. Fife recalled her probationary period to have occurred
between October 2013 and January 2014. Ms. Fife is currently employed on a full time basis
with Pride Mobility, as an inside sales representative.

Documentation Reviewed:

 

In preparation for my vocational assessment meeting and subsequent research, the
following documents were reviewed —

1. Medical Records - Lackawanna Ambulance 12/17/12

2. Medical Records - Geisinger Wyoming Valley 12/17/12

3. Medical Records - Chiropractic & Rehab Associates of Dallas 2/1/13-3/24/14
4. Medical Records - Dr. Gary Nothstein, Family Physician 4/18/13

5, Medical Report - Dr. Joseph Paz, Pain Management Physician 5/10/13

6. Medical Records - Dr. Michel Lacroix, Neurosurgeon 5/30/13-7/17/13
7. Medical Report - Dr. William Prebola, Physiatrist 4/30/14 & 6/26/14
8. Diagnostic Studies

9. Social Security Earnings Statement 1984-2012

10. Wage Loss Information - Pride Mobility

11. Tax Record 2013

Subsequent to my file review, my 7/7/14 in person vocational assessment meeting with Danette
Fife, and my 8/1/14, 8/13/14, and 9/3/14 follow up vocational discussions, I offer the following
findings in support of my vocational assessment.

Vocational Assessment Findings

Personal Data:

 

Client: Danette Fife
DOB: 11/8/1968
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Re: Danette Fife

Current Age: 45~years/10-months as of 9/8/14
Address: Harvey's Lake, PA 18618
Marital Status: Divorced

Height: 5'4"

Weight: 145lbs

Dominant Hand: Left Handed

Medical History / Medical Status:

As part of my vocational assessment, I was able to review with Danette Fife general medical
issues.

Danette Fife confirmed she has no current medical problems or conditions with diabetes, heart
disease, or high blood pressure.

On 12/17/12, Danette Fife sustained injuries to her left shoulder, left foot, and mid and low back
when she was struck by a minivan merging onto Pennsylvania Interstate Route 81.

Subsequently, Ms. Fife has undergone medical treatment by Chiropractor, Dr. Mark Mortis,
Family Physician, Dr. Gary Nothstein, Pain Management Physician, Dr. Joseph Paz, and
Physiatrist, Dr. William Prebola specific to the injuries she sustained on 12/17/12.

Ms. Fife's medication regime involves Lexapro for anxiety and depression, and Flexoril for
muscle spasms.

Summary of Medical Records:

 

I have had the opportunity to review all available medical records and documentation. I offer the
following in support of my records review:

Review of Medical Records - Lackawanna Ambulance 12/17/12):

Lackawanna Ambulance medical records confirm that Danette Fife was involved in a 12/17/12
motor vehicle accident causing her to sustain injuries to her neck and back, and requiring

transport via ambulance to the Geisinger Wyoming Valley Hospital.

The vocational significance of the Lackawanna Ambulance records is the affirmation of
causation specific to the 12/17/12 incident under review.

Review of Medical Records - Geisinger Wyoming Valley ( 12/17/12):

Geisinger Wyoming Valley Hospital medical records reviewed confirm that Ms. Fife was
transported via ambulance to the emergency room on 12/17/12 following a motor vehicle
accident.

 
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Re: Danette Fife

Ms. Fife underwent diagnostic testing and was discharged home on 12/17/12 with a diagnosis of
cervical and back strain status post motor vehicle accident.

The vocational significance of the Geisinger Wyoming Valley Hospital records is the additional
affirmation of causation specific to the 12/17/12 incident under review.

Review of Medical Records - Chiropractic & Rehab Associates of Dallas (2/1/13-3/24/14):

Medical records from Chiropractic & Rehab Associates of Dallas confirm that Danette Fife was
seen for 45 sessions of chiropractic treatment post accident between 2/1/13 and 3/24/14. These
chiropractic treatments occurred after the 12/17/12 accident under review.

Ms. Fife was treated by Chiropractors, Drs. Shawn Miller, and Dr. Mark Morris while
participating in chiropractic treatments at Chiropractic & Rehab Associates of Dallas

Specifically, Danette Fife underwent modalities by Drs. Miller and Dr. Morris to her cervical,
thoracic, and lumbar spine consisting of spinal manipulation, spinal adjustments, therapeutic
exercises, interferential therapy, and electrical stimulation. The purpose of these modalities was
to increase muscle strength, reduce fixation, increase mobility, and correct segmental
dysfunction.

The vocational significance of Ms. Fife's chiropractic records is the affirmation that treatment
was required and began after the 12/17/12 incident under review. Danette Fife confirmed that
she had not needed or participated in chiropractic treatment prior to her 12/17/12 injuries.

Review of Medical Records - Family Physician. Dr. Gary Nothstein (4/18/13):

I was able to review a 4/18/13 medical office note from Danette Fife's Family Physician, Dr.
Gary Nothstein.

Dr. Nothstein documented Ms. Fife's 4/18/13 symptoms as back and neck pain, right arm
numbness, muscle aches, left ankle pain and swelling since the MVA (12/17/12), numbness in
the right arm with twitching noted, numbness in bilateral legs since the 12/17/12 MVA,
involuntary movements, sensory disturbances, limb weakness, difficulty with fine manipulative
tasks, and motor disturbances,

Dr. Nothstein's medical impression was acute serous otitis media, cervical radiculitis, and left
ankle injury. He recommended a cervical spine MRL, and x-rays of the left ankle.

The vocational significance of Dr. Nothstein's medical records is the affirmation that Ms. Fife
has sustained multiple injuries and physical limitations as a direct result of the incident under
review.
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Re: Danette Fife

Review of Medical Report - Physiatrist, Dr. William Prebola (4/30/14 & 6/26/14):
Danette Fife underwent a medical evaluation by Physiatrist, Dr. William Prebola on 4/30/14.

Subsequent to his review of available records, and objective examination of Ms. Fife, Dr.
Prebola offered the following medical impression:

-1, Motor vehicle collision of 12/17/12 causing:

a. Cervical disc herniation at C5-6, status post anterior cervical discectomy and
fusion.

b. Right sided cervical radiculopathy.

c. Ongoing cervical/thoracic myofascial spasms.

- Dr. Prebola verified that his 4/30/14 medical evaluation confirmed that Ms. Fife continues to
have ongoing cervical spine impairment with residual right sided cervical radiculopathy as a sole
result of the motor vehicle collision of 12/17/12.

Vocationally, Dr. Prebola offered the 4/30/14 opinion hat:

© believe Danette Fife does suffer permanent partial impairment and permanent partial
disability.

e would place permanent restrictions in the sedentary to light duty work capacity level.

e She has a maximum lifting up to 15-20 Ibs occasionally, and no greater than 5-10 Ibs
frequently.

© She needs to avoid future occupations that would include repetitive cervical twisting and
bending activities.

© These restrictions are based solely on the motor vehicle collision of 12/7/12.

Overall, Dr. Prebola opined:

e Ms. Fife will never fully recover from the injuries sustained on 12/17/12.
e She can expect to have permanent pain and permanent symptomatology in the future.

Dr, Prebola tendered a 6/26/14 narrative report outlining Ms. Fife's future medical cost
projections in conjunction with his 4/30/14 medical evaluation.

In regard to future medical treatment, Dr. Prebola opined that ongoing care including 24-36
chiropractic visits per year, pharmacological agents, trigger point injections, and 6-8 physician
visits are reasonable in order to treat her cervical and thoracic inj uries,

With regard to Ms. Fife's future medical condition, Dr. Prebola offered the 6/26/14 medical
opinion that
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Re: Danette Fife

e Ms. Fife can expect to have worsening of her cervical spine above and below the level of
her cervical fusion at C5-6.

e Inapproximately 3-5 years, Ms. Fife can expect to have worsening of her physical
abilities due to the fact that she has had the cervical discectomy and fusion.

© believe she will progress to a state of total disability in that five year time frame.

The vocational significance of the medical opinions tendered by Board Certified Physiatrist, Dr.
William Prebola is the affirmation of 1) causation specific to the 12/ 17/12 motor vehicle
accident under review, and 2) permanent limitations that will progress to a state of total disability
within a five year time frame (2019).

Review of Medical Records - Pain Management Physician, Dr. Joseph Paz (5/10/13):
Danette Fife was also evaluated by Pain Management Physician, Dr. Joseph Paz, on 5/10/13.

Dr, Paz documents within his 5/10/13 report that Danette Fife was involved in a 12/17/12 motor
vehicle accident when she was hit head on by a driver who was going the wrong way on
Interstate 81.

Dr. Paz noted Ms. Fife presented at her 5/10/13 examination with severe neck pain, right upper
extremity pain, low back pain, as well as numbness and tingling in her arms, legs, and feet. Dr.
Paz also noted that Ms. Fife described her pain as constant, aching, burning, and sharp.

Dr. Paz's medical impression was cervical radiculopathy related to cervical herniated nucleus
pulposus, moderate cervical spinal stenosis, cervicalgia - neck pain, cervical facet syndrome.

Dr. Paz recommended cervical epidural steroid injections, a neurosurgical consult, soft cervical
collar, and continue anti-inflammatory medication.

Vocational notice is taken specific to Dr. Paz’s 5/10/13 opinion that Ms. Fife has 1) significant
morning stiffness, 2) her pain is worse throughout the day and 3) sitting makes her pain worse.

The vocational significance of Dr. Paz's 5/10/13 medical opinion is the affirmation of 1)
causation specific to the 12/17/12 MVA, and 2) the affirmation of multiple ongoing
symptomatology that has led to constant pain that is worse throughout the day, and 3) sitting
makes Ms. Fife's pain worse.

Review of Medical Records - Neurosurgeon, Dr. Michel Lacroix (5/30/13 -7/17/13):

I was able to review medical records from Neurosurgeon, Dr. Michel Lacroix under the cover of
5/30/13 through 7/17/13.
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Re: Danette Fife

Ms. Fife was evaluated by Dr. Lacroix on 5/30/13 for an evaluation of her cervical spine. Ms.
Fife was experiencing increased neck pain and right upper extremity pain. Dr. Lacroix examined
Ms. Fife, reviewed diagnostic studies and recommended she undergo surgical intervention.

On 6/15/13, Danette Fife underwent a cervical discectomy and fusion by Dr. Lacroix. .

A 7/17/13 correspondence was tendered by Dr. Lacroix's PA-C, Alan Vannan to Ms. Fife's pre-
injury employer, Pride Mobility. This correspondence allowed Ms. Fife to consider return to
work, as long as she does not lift greater than 10-15Ibs, and avoids deep bending and twisting.

Vocationally, I would note that Dr. Lacroix's restrictions limiting Ms. Fife to lifting no more than
10-15lbs, does not allow Ms. Fife to participate in a full range of light work.

Physical Limitations:

As part of my vocational assessment in this matter, I discussed with Danette Fife her physical
limitations that have occurred as a direct result of the 12/17/12 accident. Ms. Fife described the
following eleven limitations that she deals with on an ongoing basis:

constant numbness in her right palm under her thumb.

occasional numbness in the tips of her fingers on her right hand.

constant left foot numbness and tingling.

the need to move side to side while standing.

an inability to stand beyond 20-minutes before needing to change positions.

severe tightness in both her shoulders.

increased low back pain after periods of walking.

an inability to lift beyond Slbs.

an inability to sit beyond 20-30 minutes before needing to change positions between
sitting and standing. Standing intervals will last 5-10 minutes.

the need to move side to side while sitting due to low back and neck pain.

increased pain and discomfort in her neck and low back with cold, wet, and/or humid
weather conditions.

I have personally observed Ms. Fife's need to change positions at 20-minute intervals. During
the course of our 7/7/14 2-hour and 15-minute in person vocational meeting, I observed Ms. Fife
change positions between sitting and standing on an ongoing basis. I concurrently observed Ms.
Fife's need to stand for 10-minute intervals.

Family & Social Background:
Danette Fife was born in Wilkes-Barre, PA on 11/8/1968.

 
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Re: Danette Fife

Danette Fife was divorced as of September 2011. Ms. Fife is the proud mother of three children
ages 19, 11, and 8. The Fife family has resided at their Harvey's Lake location for the past 3-
years. Unfortunately, due to financial hardships, Ms. Fife and her family have moved to new
residence in the Harvey's Lake area in August 2014.

Ms. Fife was socially active prior to the 12/17/12 motor vehicle accident and described pre-
injury hobbies to include time with her family, exercise, yoga, body building, cycling, roller
blading, tough mudder races, portrait painting. Ms. Fife reported no post injury hobbies.

Ms. Fife possess a valid PA Driver's license.
Educational & Military Background:

Danette Fife graduated from Dallas High School in 1986. Ms. Fife attended West Chester
University from 1989-1990, and The Art Institute of Philadelphia from 1992-1994. Ms. Fife's

_ field of study at The Art Institute of Philadelphia was Visual Communication - Marketing and
Graphic Arts. Ms. Fife confirmed she did not obtain a degree for West Chester University or the
Art Institute of Philadelphia.

Danette Fife confirmed she has the ability to read and write. However, Ms. Fife concurrently
confirmed that downward neck flexion to utilize a keyboard will increase pain, and worsen pain
symptoms in her neck and back as the day proceeds.

Ms. Fife confirmed during our 7/7/14 vocational assessment meeting that she has never
participated in any branch of the United States Military.

Vocational Background:

As part of my vocational assessment, I was able to review with Danette Fife, her work
experience. Ms. Fife reported the following vocational profile:

e 12/10/12-Present Pride Mobility

Danette Fife began working for Pride Mobility as a full time accounts executive on 12/10/12.
Ms. Fife reported her annual salary as $27,500.00 plus commission. Ms. Fife stated her monthly
commission has averaged between $1,500.00 to $2,000.00. Ms. Fife receives Geisinger
healthcare benefits.

Job responsibilities include in house sales of Pride Mobility products which include electric
wheelchairs, jazzes, and scooters. Ms. Fife will use proprietary software and maintain sales
contact with dealers and retail outlets.
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Re: Danette Fife

Unfortunately, one week following her 12/10/12 date of hire Ms. Fife was injured in the motor
vehicle accident of 12/17/12.

Multiple job accommodations including but not limited to 1) allowing for a 5 to 10 minute break
to stand every 30-minutes, 2) use of an ergonomic keyboard, and 3) an orthopedic work chair
have been made by Pride Mobility as Ms. Fife's employer. Unfortunately, even with these job
accommodations, Ms. Fife experiences daily pain that worsens as the day progresses.

e 2011 - 11/2012 During this time period, Ms. Fife made the choice that millions of
American moms have made, and was at home with her children.

e 10/2006-5/2010 Snooty Fox Consignment

Danette Fife was the sole owner/operator of Snooty Fox Consignment between 2006 and 2010.
This business was a local consignment shop focused on women's and children's clothing. Ms.
Fife managed a staff of 5 part time employees and marketed the business by word of mouth. Ms.
Fife viewed this work experience as a hobby during her married years. This business concluded
in 2010 because he business was not profitable.

e 1/2001-1/2006 AT&T Wireless

Danette Fife was employed as a full time Indirect Account Executive with AT&T Wireless from
April 2001 through October 2006. Ms. Fife reported earning a yearly income of $42,000.00 plus
commission.

Ms. Fife described her job duties with AT&T Wireless as extensive traveling, indirect point of
sales, training staff and vendors, supervising staff and presenting at trade shows 4-5 times per
year. Ms, Fife interacted with 52 AT&T locations and assisted with handling and resolving
customer issues. Ms. Fife confirmed that prior to the 12/17/12 motor vehicle accident, she met
and exceeded her work goals. Ms. Fife noted that her territory included northeastern New York,
Northeastern-PA, Hazelton, Wilkes-Barre, and Philadelphia. This position concluded in 2008
while Ms. Fife was married, and the family decision had been made for Ms. Fife to spend more
time at home, and help raise her children.

Ms. Fife's supervisor, Pete, Uzups described Ms. Fife's work qualities with this employer as
excellent.

(Source: 11/29/12 Job Reference from Supervisor Pete Uzups)
e 1997-2001 Omnipoint/Voicestream - T-Mobile

Danette Fife was employed as a full time Indirect Account Executive with Omnipoint
Voicestream between January of 1995 and January of 2001. Ms. Fife recalled her annual income
as $32,000.00 plus commission.

 
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Re: Danette Fife

Ms. Fife's job duties with Omnipoint/Voicestream involved training national account
representations on company strategies and sales methods when new territories opened up. Ms.

Fife interacted with approximately 50 staff members and provided point of sales services and
supervision to eight states on the east coast with regard to merchandising and vendor
relationships. Employment with this employer continued without interruption following
Omnipoints merger with Voice Stream - AT&T.

Ms. Fife's Supervisor, Bill Davis described Ms. Fife's work qualities with this employer as above
average and excellent.

(Source: 11/29/12 Job Reference from Supervisor, Bill Davis)
Activities of Daily Living: |

As is customary with each vocational assessment, I was able to review with Danette Fife her
current activities of daily living.

Danette Fife confirmed during our vocational discussions that in addition to her full time work
hours she is able to cook, and clean. However, Ms. Fife noted she will only accomplish her

_ work and post work activities at her own slow pace, and only as her comfort level dictates.
Unfortunately, Ms. Fife confirmed that her pain symptoms worsened after activity, and are most
painful at the end of the day . Ms. Fife will often rest and relax during the night time hours to
regroup for the next day.

Ms. Fife indicated that she relies on her children to help with laundry and grocery shopping.

Transferable Skills Analysis:

As is customary, a Transferable Skills Analysis was completed specific to Danette Fife's past
work experiences.

Vocationally, past relevant work is primarily evaluated on employment within the most recent
15-year period. Therefore, the positions considered within the VDARE process include
Ms. Fife's work experience at -

e Pride Mobility -

o Sales representative general merchandise - DOT# 279.357-014, SVP 5, Light
exertional level, Skilled employment

o Sales representative motorized vehicle and supplies - DOT# 273.357 022, SVP 5,
Light exertional level, Skilled employment
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Re: Danette Fife

e Snooty Fox Consignment -

o Retail sales manager - DOT# 185.167-046, SVP 7, Light exertional level, Skilled
employment

e AT&T Wireless Omnipoint/Voicestream -

© Sales representative - telephone services - DOT# 253.257-010, SVP 6,Light
exertional level, Skilled employment
© Training instructor - 166.227-010, SVP 7, Light exertional level, Skilled employment

The first area evaluated within the Transferable Skills Analysis was Danette Fife's Specific
Vocational Preparation level (SVP). An individual’s SVP level is defined by the amount of time
required by a typical worker to learn the techniques, acquire information, and develop the skills
needed for average performance in a specific work situation.

Danette Fife's average SVP level, level 6, indicates over 1-year up to and including 2-years as the
typical time frame for an individual to develop average work skills.

Danette Fife's General Educational Development (GED) level was also evaluated next. This
evaluation embraces those aspects of education both formal and informal, which are required of a

worker for satisfactory job performance.

Danette Fife has developed an average GED level (level 3) with regard to math skills and a
slightly above average ability with regard to reasoning and language skills.

The VDARE process utilized within the Transferable Skills Analysis also confirms that Danette
Fife has developed:

e Below average aptitudes with regard to eye/hand/foot coordination and color
discrimination.

e Slightly below average aptitudes with regard to motor coordination, finger and manual
dexterity.

e Average aptitudes with regard numerical skills, spatial perception, form perception, and
clerical perception.

e Above average aptitudes with regard intelligence and verbal skills,

Danette Fife's past work experience has been performed in the light exertional level. Light
exertional work is defined as Lifting 20 Ibs. maximum with frequent lifting/carrying of objects
weighing up to 10 Ibs.

Danette Fife's work history has required physical demands with regard to - occasional stooping,
kneeling, crouching, and use of far acuity, depth perception, accommodation, color vision, and
field of vision; occasional to frequent reaching, handling, fingering, as well as use of near acuity;
frequent to constant talking and hearing.

 
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Re: Danette Fife

Danette Fife's has developed work temperaments with regard to directing others, influencing
people, making judgments, dealing with people, attaining tolerances, and performing a variety of
duties.

Danette Fife has been exposed to noise intensity levels in her work environment at level 3, which
is average.

Vocational Conclusions:

I have completed a review of all available historical documentation in this matter. I have also
completed an in person vocational assessment with Danette Fife on 7/7/14 and follow up
vocational telephonic discussions on 8/1/14, 8/13/14, and 9/3/14.

My vocational efforts, in combination with vocational research and reliable and relevant
vocational methodology were utilized in developing my vocational opinions in this matter.

It is my opinion within a reasonable degree of vocational certainty, that as a direct result of the
12/17/12 accident, Danette Fife has sustained an occupational disability. I offer the following in
support of my vocational opinion.

It is my opinion that no less than 5 medical examiners, 1) Chiropractors Dr. Miller and Dr.
Morris, 2) Family Physician, Dr. Nothstein, 3) Physiatrist, Dr. Prebola, 4) Pain Management
Specialist, Dr. Paz, and 5) Neurosurgeon, Dr. Lacroix, affirm causation and physical limitations
for Danette Fife as a result of the 12/17/12 accident under review.

As an existing employee of Pride Mobility, Danette Fife has received multiple job
accommodations from her employer. Vocational notice is taken regarding Pride Mobility's
business focus of providing individuals in need, with handicapped accommodations via

motorized wheelchairs.

Pride Mobility has specifically allowed Danette Fife to change positions at 30-minute intervals
and walk and/or stand for 5-10 minutes in order to address ongoing pain symptomatology.

During this 5-10 minute period, Danette Fife is off task.

As the fact finders are aware, pain management specialist, Dr. Joseph Paz has opined that sitting
makes Mr. Fife's pain worse. Pride Mobility has concurrently offered an orthopedic chair and
accommodation regarding Ms. Fife's keyboard positioning.

Even though Ms. Fife received these multiple accommodations, she was placed under a
probationary status between October 2013 an January 2014, due to missed time from work and
her inability to maintain job expectations.
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Re: Danette Fife

It is my opinion that Ms. Fife's permanent pain, permanent symptomatology and worsening
condition has restricted her upward vocational mobility and career advancement potential as she
currently attempts to sustain work.

It is my vocational opinion that in an alternate work setting, Ms. F ife may not be allowed the
ongoing accommodation of time off from work tasks. It is concurrently my vocational opinion,
that in an alternate work setting, Danette Fife would be competing against able bodied
individuals, in a labor market with a high unemployment rate. Employer's in today's labor
market are trying to accomplish "more with less". This business philosophy results in employees
being asked to accomplish more job tasks with less assistance. Employers expect a persistence
of work pace, consistent work attendance and the ability to generate results.

Ms. Fife is also aware of Dr. Prebola's 6/24/14 medical opinion that she can expect a
worsening of her physical abilities due to her cervical discectomy and fusion and can
concurrently expect her condition to deteriorate to the state of total disability within a 5-year
time frame.

The opinions of Drs. William Prebola, Joseph Paz, and Michel Lacroix are specifically
compelling from a vocational perspective and support my vocational findings in this matter.

On 7/17/13, Dr. Lacroix documented Ms. Fife's restrictions limiting her to lifting no more than
10-15lbs. Vocationally, this is significant because these restrictions do not allow Ms. Fife to
participate in a full range of light work.

Dr. Paz's 5/10/13 medical opinion affirms 1) causation specific to the 12/17/12 motor vehicle
accident, 2) the affirmation of ongoing symptomatology that has lead to constant pain that is
worse throughout the day, and 3) sitting makes Ms. Fife's pain worse..

On 4/30/14, Dr. William Prebola confirms his medical opinion that Ms. Fife has already
experienced a permanent partial impairment and permanent partial disability:

e I believe Danette Fife does suffer permanent partial impairment and permanent partial
disability.
I would place permanent restrictions in the sedentary to light duty work capacity level.
She has a maximum lifting up to 15-20 Ibs occasionally, and no greater than 5-10 Ibs
frequently.

© She needs to avoid future occupations that would include repetitive cervical twisting and
bending activities.

e These restrictions are based solely on the motor vehicle collision of 12/17/12.

e Ms. Fife will never fully recover from the injuries sustained on 12/17/12.

e She can expect to have permanent pain and permanent symptomatology in the future.

 
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Re: Danette Fife

Overall, Dr. Prebola opined on 6/26/14 that Danette Fife will experience total disability:

e Ms. Fife can expect to have worsening of her cervical spine above and below the level of
her cervical fusion at C5-6.
e Inapproximately 3-5 years, Ms. Fife can expect to have worsening of her physical
abilities due to the fact that she has had the cervical discectomy and fusion.
e believe she will progress to a state of total disability in that five year time frame.

The vocational significance tendered by Board Certified Physiatrist, Dr. William Prebola, is the
affirmation of 1) causation specific to the 12/17/12 motor vehicle accident under review, and 2)
permanent limitations and a permanent partial disability that will progress to a state of total
disability within a five year time frame.

Dr. Prebola's 6/26/14 medical opinion offers a clear and specific foundation for Danette Fife
experiencing a total occupational disability by the year 2019.

Danette Fife was born on 11/8/1968, and will therefore reach age 51 in 2019, at the time of her
51st birthday.

_ Individual's celebrating Ms. Fife's birth year of 1968 reach their full work life expectancy at age
67.

(Source: Social Security Administration - Wwww.ssa.gov)

Therefore, it is my opinion that as a direct result of the 12/17/12 accident under review, Danette
Fife will experience a total occupational disability and concurrent total loss of earning capacity,
over a period of 16-years. This time represents a total occupational disability between age 51 and
age 67.

Impact on Earning Capacity:

As part of my assessment of Danette Fife, 1 have reviewed Danette Fife's pre-injury earnings
history between 1984 and 2012 as presented within her Social Security Earnings Profile. I have

also reviewed Ms. Fife’s 2013 tax records and 2013 W-2 from her work with Pride Mobility.

As the fact finders are aware, Ms. Fife's ownership of the Snooty Fox Consignment Shop
between October of 2006 and May 2010 was in reality a hobby. This was not an employment
experience that Ms. Fife participated in to earn a profit. During this time in Ms. Fife's life she
was married, and the Fife family was able to live off Mr. Fife's annual earnings.

Ms, Fife re-entered the work force in December of 2012, when she initiated work with Pride
Mobility.

 
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Re: Danette Fife

The demonstrated earnings profile for Ms. Fife between 2007 and 2012 shows zero earnings or
minimal earnings during those work years.

I have therefore evaluated Danette Fife's demonstrated earning capacity during the three full
work years, prior to her 2007 departure from the competitive work force. My vocational review
of Ms. Fife's earning profile as documented in her Social Security Earnings History confirms the

following:

© $51,328.00 - 2004 Annual Earnings Per Social Security Earnings History
e $56,002.00 - 2005 Annual Earnings Per Social Security Earnings History
© $42,726.00 - 2006 Annual Earnings Per Social Security Earnings History

This earnings profile presents objective confirmation of Danette Fife's pre-injury demonstrated
average annual earning capacity of $50,018.00. This demonstrated average annual earning
capacity is based specifically on Ms. Fife's annual earnings over the three year period of 2004,
2005, and 2006.

Ms. Fife's 2013 W-2 tax statement objectively confirms an annual earned income of $30,831.00.
As the fact finders are aware, Ms. Fife's 2013 earnings were interrupted by 6/15/13 cervical
surgery and post surgical recuperation.

Currently, Danette Fife confirms that her work with Pride Mobility has a base salary of .
$27,500.00 annually, and Ms. Fife is earning $1,500 to $2,000 in bonus income.

Projected over a course of a full work yeat, Ms. Fife's monthly bonus income annualizes to a
range of $18,000.00 per year ($1,500 x 12-months) to $24,00.00 per year ($2,000 per month x
12-months). Therefore it is my opinion that Danette Fife's current demonstrated annual earning
capacity presents ina range between $45,000.00 to $51,000.00 per year. This earning capacity is
in harmony and consistent with Danette Fife's pre-injury demonstrated earning profile.

Specifically, to the overall impact of the 12/17/12 motor vehicle accident on Danette Fife's future
vocational and economic horizons, I offer the following.

* Danette Fife's diminished earning capacity based on her total occupational disability status at
age 51.

An individuals earning capacity is defined as a person's ability or power to earn money given the
person's talent, skills, training, and experience.

(Source: Forensic Rehabilitation Consultants - Elliot & Fitzpatrick 2005)

 
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Re: Danette Fife

Although Ms. Fife's current earning potential based on her base income and bonus income ranges
between $45,000 and $51,000 per year, I have conservatively utilized Ms. Fife's pre-injury
demonstrated earning capacity for the purposes of this assessment.

Specifically, I have utilized Danette Fife's pre-injury demonstrated average annual earnings of
$50,018.00. This average annual income is demonstrated objectively by Ms. Fife's 2004, 2005,

and 2006 pre-injury earnings.

Significant age milestones in this assessment confirm that Ms. Fife was 44-years and 1-month
old at the time of the 12/17/12 motor vehicle accident and is currently 45-years and 10-months
old.

My vocational research confirms that individuals celebrating Ms. Fife's birth year (1968) reach
their full work life expectancy at age 67-years/0-months.

- (Source: Social Security Administration — WWW.sSa.Z0V)

Vocational consideration has been given to Dr. William Prebola 6/24/14 medical opinion
confirming that Ms. Fife has permanent pain, permanent symptomatology, and can expect
worsening of her conditioning until she reaches a total occupational disability status within a 3 to
5 year period.

Based on Ms. Fife's demonstrated average annual earnings of $50,018.00 and a diminished work
life expectancy of 15-years between age 51 and age 67, it is my opinion that Ms. Fife will
experience a total anticipated loss of future earning capacity in the amount of $800,288.00.

This wage calculation considers an annual loss of earning capacity of $50,018.00 x 16-years.
Specifically, this wage calculation considers uninterrupted participation in the work force
between age 51 through age 67.

I would highlight for the fact finders in this matter that:

© Wage calculations are conservative as they do not consider Ms, Fife's permanent
symptomatology permanent pain, and worsening condition during the next 5-years
leading up to total disability status, which may decrease her earnings over the next 5-
years.

e Wage calculations are conservative as they do not consider an increase in annual base
pay, an increase in overtime income, commission income, bonus income, or the need to
pay ancillary benefits including individual or family healthcare benefits.

e Wage calculations are also conservative as they are presented in present day dollar value
and not adjusted for inflation.

 
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Re: Danette Fife

As always, I would respectfully reserve the right to review any future documentation in this
matter should developments warrant.

I have offered each of my opinions in this assessment within a reasonable degree of vocational
certainty.

This concludes my vocational assessment specific to the matter of Danette Fife.

Sincerely,

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Sean C. Hanahue, MA, CDMS, CRC, BCPC, ABVE
President/Director of Rehabilitation Services
PA Advocates Inc.

 
  

Enclosures:1) Scenario I Worksheet - 1 Page
2) Definition of Work Demands - 1 Page
3) Curriculum Vitae - Sean C. Hanahue, MA, CDMS, CRC, BCPC, ABVE - 8 Pages

SCH/sp |

 
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Attorney Michael Cefalo
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Re: Danette Fife

As always, I would respectfully reserve the right to review any future documentation in this
matter should developments warrant.

I have offered each of my opinions in this assessment within a reasonable degree of vocational
certainty.

This concludes my vocational assessment specific to the matter of Danette Fife.

Sincerely,
Sten 0 eyo laES

8, CRC/BCPC/ ABVE
President/Director of Rehabilitation Services

Sean C. Hanahue, MA, CD.
PA Advocates Inc.

  

Enclosures:1) Vocational Worksheet - 1 Page
2) Definition of Work Demands - 1 Page
3) Curriculum Vitae - Sean C. Hanahue, MA, CDMS, CRC, BCPC, ABVE - 8 Pages

SCH/sp

 
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Claimant: Danette Fife
D.O.B.: 11/8/1968

D.O.L:

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IV.

12/17/2012

Danette Fife's diminished earning capacity
based on her total occupational disability status at age 51.

EARNING CAPACITY: A person's ability to earn money given the person's talent, skills,
training, and experience .

(Source: Forensic Rehabilitation Consultants - Elliot & Fitzpatrick 2005)

WORK LIFE EXPECTANCY (WLE) — is defined as the total number of years in aggregate
that an individual is_likely to be alive and employed:

Age at time of accident ~ 44-years/1-month
Current Age as of 9/8/14 — 45-years/10-months
Full Work Life Expectancy (WLE) ~ 67-years/0-months
Remaining Work Life Expectancy (WLE) After

Age 51 and Total Occupational Disability to Age 67 = 15-years/0-months

(Source: Medical Opinion - Dr. William Prebola 6/24/14))
PRE-INJURY DEMONSTRATED AVERAGE ANNUAL INCOME (3-YEARS):

$50,018.00 — This wage calculation considers Ms. Fife's 3-year pre-injury average annual demonstrated
earned income between 2004, 2005, and 2006

TOTAL ANTICIPATED LOSS OF FUTURE EARNINGS - 16-YEARS:

$800,288.00 — This wage calculation considers a lost annual earning capacity of $50,018.00 x 16-years.
Specifically, this wage calculation considers the time frame between Age 51 and Age 67.

($50,018.00 annual loss x 16-years = $800,288.00)

*Wage calculations are conservative as they do not consider Ms. Fife's permanent symptomatology,
permanent pain, and worsening condition during the next 5-years leading up to total disability status.

*Wage calculations are conservative as they do not consider an increase in annual base pay, an increase
in overtime income, commission income, bonus income, or the need to pay ancillary benefits including
individual or family healthcare benefits.

*Wage calculations are also conservative as they are presented in present day dollar value and not
adjusted for inflation.

 
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DEFINITION OF WORK DEMANDS‘

Following are descriptions of the five terms in which the Strength bactor is express=

S-Sedentary Work — Exerting up to 10 pounds of force occasionally. (Occasionally: Activity or
condition exists up to 1/3 of the time) and/or negligible amount of force frequently (Frequently:
Activity or condition exists from 1/3 to 2/3 of the time) to lift, carry, push. pull. or otherwise move
objects, including the human body. Sedentary work involves sitting most of the ume. put mz
involve walking or standing for brief periods of time. Jobs are sedentary if walking and stanainz
are reauired onlv occasionallv and all other criteria are met

L-Light Work — Exerting up to 20 pounds of force occasionally, and/or up to 10 pounds of force
frequently, and/or a negligible amount of force constantly (Constantly: Activity or condition exists
2/3 or more of the time) to move objects. Physical demand requirements are in excess of those for
Sedentary Work. Even though the weight lifted may be only a negligible amount, a job should be
rated Light Work. (1) When it requires walking or standing to a significant degree; or (2) when it
reauires sitting most of the time but entails pushing and/or pulling or arm or leg controls; and/or (3)
when the job requires working at a production rate pace entailing the constant pushing and/or
pulling of materials even though the weight of those materials is negligible. NOTE: The constant
stress and strain of maintaining a production rate pace, especially in an industrial setting, can be and
is physically demanding of a worker even though the amount of force exerted is negligible.

M-Medium Work — Exerting 20-50 pounds of force occasionally, and/or 10-25 pounds of force
frequently, and/or greater than negligible up to 10 pounds of force constantly to move objects.
Physical demand requirements are in excess of those for Light Work.

H-Heavy Work — Exerting 50-100 pounds of force occasionally, and/or 25-50 pounds of force
frequently, and/or 10-20 pounds of force constantly to move objects. Physical demand
requirements are in excess of those for Medium Work.

V-Very Heavy — Exerting in excess of 100 pounds of force occasionally, and/or in excess of 50
pounds of force frequently, and/or in excess of 20 pounds of force constantly to move objects.
Physical demand requirements are in excess of those for Heavy Work

DEFINITION OF EARNING CAPACITY

Earning Capacity: Earning capacity can be defined as the level of income in which an individual
may be reasonably expected to receive from work, given that individual’s age, level of educational
attainment, particular skills and talents, actual earnings and work history, intentions, and the supply
and demand of conditions in the labor market relative to the individual’s realistic employment
choices. It should be noted that the realization of earning capacity may be a function of both
economic and non-economic factors.

 
